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 1      CENTER FOR DISABILITY ACCESS
        Raymond Ballister Jr., Esq., SBN 111282
 2      Russell Handy, Esq., SBN 195058
        Dennis Price, Esq., SBN 279082
 3      Amanda Seabock, Esq., SBN 289900
        Mail: 8033 Linda Vista Road, Suite 200
 4      San Diego, CA 92111
        (858) 375-7385; (888) 422-5191 fax
 5      amandas@potterhandy.com
 6      Attorneys for Plaintiff
 7
 8
                                UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
11      Orlando Garcia,                           Case No.

12                Plaintiff,
                                                  Complaint For Damages And
13        v.                                      Injunctive Relief For Violations
                                                  Of: Americans With Disabilities
14      Michele Drinkwater, Successor             Act; Unruh Civil Rights Act
        Trustee of the Sylvia Arian Separate
15      Property Trust d/o/e 9-3-2013;
        Jack Arian and Associates, a
16      California Corporation; and Does 1-
        10,
17
                  Defendants.
18
19
            Plaintiff Orlando Garcia complains of Michele Drinkwater, Successor
20
      Trustee of the Sylvia Arian Separate Property Trust d/o/e 9-3-2013; Jack
21
      Arian and Associates, a California Corporation; and Does 1-10
22    (“Defendants”), and alleges as follows:
23
24
        PARTIES:
25      1. Plaintiff is a California resident with physical disabilities. Plaintiff is a
26
      level C-5 quadriplegic. He also suffers from Cerebral Palsy. He has manual
27
      dexterity issues. He uses a wheelchair for mobility.
28      2. Defendant Michele Drinkwater, Successor Trustee of the Sylvia Arian


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 1    Separate Property Trust d/o/e 9-3-2013, owned the real property located at
 2    or about 503 N. Victory Blvd., Burbank, California, in January 2020.
 3      3. Defendant Michele Drinkwater, Successor Trustee of the Sylvia Arian
 4    Separate Property Trust d/o/e 9-3-2013, owns the real property located at or
 5    about 503 N. Victory Blvd., Burbank, California, currently.
 6      4. Defendant Jack Arian and Associates owned The Supply Sergeant
 7    located at or about 503 N. Victory Blvd., Burbank, California, in January 2020.
 8      5. Defendant Jack Arian and Associates owns The Supply Sergeant
 9    (“Store”) located at or about 503 N. Victory Blvd., Burbank, California,
10    currently.
11      6. Plaintiff does not know the true names of Defendants, their business
12    capacities, their ownership connection to the property and business, or their
13    relative responsibilities in causing the access violations herein complained of,
14    and alleges a joint venture and common enterprise by all such Defendants.
15    Plaintiff is informed and believes that each of the Defendants herein,
16    including Does 1 through 10, inclusive, is responsible in some capacity for the
17    events herein alleged, or is a necessary party for obtaining appropriate relief.
18    Plaintiff will seek leave to amend when the true names, capacities,
19    connections, and responsibilities of the Defendants and Does 1 through 10,
20    inclusive, are ascertained.
21
22      JURISDICTION & VENUE:
23      7. The Court has subject matter jurisdiction over the action pursuant to 28
24    U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
25    Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
26      8. Pursuant to supplemental jurisdiction, an attendant and related cause
27    of action, arising from the same nucleus of operative facts and arising out of
28    the same transactions, is also brought under California’s Unruh Civil Rights


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 1    Act, which act expressly incorporates the Americans with Disabilities Act.
 2      9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
 3    founded on the fact that the real property which is the subject of this action is
 4    located in this district and that Plaintiff's cause of action arose in this district.
 5
 6      FACTUAL ALLEGATIONS:
 7      10. Plaintiff went to the Store in January 2020 with the intention to avail
 8    himself of its goods and to assess the business for compliance with the
 9    disability access laws.
10      11. The Store is a facility open to the public, a place of public
11    accommodation, and a business establishment.
12      12. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
13    to provide wheelchair accessible paths of travel inside the Store in
14    conformance with the ADA Standards as it relates to wheelchair users like the
15    plaintiff.
16      13. On information and belief, the defendants currently fail to provide
17    wheelchair accessible paths of travel inside the Store.
18      14. Additionally, on the date of the plaintiff’s visit, the defendants failed to
19    provide wheelchair accessible sales counters in conformance with the ADA
20    Standards as it relates to wheelchair users like the plaintiff.
21      15. On information and belief, the defendants currently fail to provide
22    wheelchair accessible sales counters.
23      16. These barriers relate to and impact the plaintiff’s disability. Plaintiff
24    personally encountered these barriers.
25      17. As a wheelchair user, the plaintiff benefits from and is entitled to use
26    wheelchair accessible facilities. By failing to provide accessible facilities, the
27    defendants denied the plaintiff full and equal access.
28      18. The failure to provide accessible facilities created difficulty and


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 1    discomfort for the Plaintiff.
 2      19. The defendants have failed to maintain in working and useable
 3    conditions those features required to provide ready access to persons with
 4    disabilities.
 5      20. The barriers identified above are easily removed without much
 6    difficulty or expense. They are the types of barriers identified by the
 7    Department of Justice as presumably readily achievable to remove and, in fact,
 8    these barriers are readily achievable to remove. Moreover, there are numerous
 9    alternative accommodations that could be made to provide a greater level of
10    access if complete removal were not achievable.
11      21. Plaintiff will return to the Store avail himself of its goods and to
12    determine compliance with the disability access laws once it is represented to
13    him that the Store and its facilities are accessible. Plaintiff is currently deterred
14    from doing so because of his knowledge of the existing barriers and his
15    uncertainty about the existence of yet other barriers on the site. If the barriers
16    are not removed, the plaintiff will face unlawful and discriminatory barriers
17    again.
18      22. Given the obvious and blatant nature of the barriers and violations
19    alleged herein, the plaintiff alleges, on information and belief, that there are
20    other violations and barriers on the site that relate to his disability. Plaintiff will
21    amend the complaint, to provide proper notice regarding the scope of this
22    lawsuit, once he conducts a site inspection. However, please be on notice that
23    the plaintiff seeks to have all barriers related to his disability remedied. See
24    Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
25    encounters one barrier at a site, he can sue to have all barriers that relate to his
26    disability removed regardless of whether he personally encountered them).
27
28    I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS


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 1    WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
 2    Defendants.) (42 U.S.C. section 12101, et seq.)
 3      23. Plaintiff re-pleads and incorporates by reference, as if fully set forth
 4    again herein, the allegations contained in all prior paragraphs of this
 5    complaint.
 6      24. Under the ADA, it is an act of discrimination to fail to ensure that the
 7    privileges, advantages, accommodations, facilities, goods and services of any
 8    place of public accommodation is offered on a full and equal basis by anyone
 9    who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
10    § 12182(a). Discrimination is defined, inter alia, as follows:
11             a. A failure to make reasonable modifications in policies, practices,
12                 or procedures, when such modifications are necessary to afford
13                 goods,    services,    facilities,   privileges,    advantages,   or
14                 accommodations to individuals with disabilities, unless the
15                 accommodation would work a fundamental alteration of those
16                 services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
17             b. A failure to remove architectural barriers where such removal is
18                 readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
19                 defined by reference to the ADA Standards.
20             c. A failure to make alterations in such a manner that, to the
21                 maximum extent feasible, the altered portions of the facility are
22                 readily accessible to and usable by individuals with disabilities,
23                 including individuals who use wheelchairs or to ensure that, to the
24                 maximum extent feasible, the path of travel to the altered area and
25                 the bathrooms, telephones, and drinking fountains serving the
26                 altered area, are readily accessible to and usable by individuals
27                 with disabilities. 42 U.S.C. § 12183(a)(2).
28      25. When a business provides paths of travel, it must provide accessible


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 1    paths of travel.
 2      26. Here, accessible paths of travel have not been provided in conformance
 3    with the ADA Standards.
 4      27. When a business provides facilities such as sales or transaction counters,
 5    it must provide accessible sales or transaction counters.
 6      28. Here, accessible sales or transaction counters have not been provided in
 7    conformance with the ADA Standards.
 8      29. The Safe Harbor provisions of the 2010 Standards are not applicable
 9    here because the conditions challenged in this lawsuit do not comply with the
10    1991 Standards.
11      30. A public accommodation must maintain in operable working condition
12    those features of its facilities and equipment that are required to be readily
13    accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
14      31. Here, the failure to ensure that the accessible facilities were available
15    and ready to be used by the plaintiff is a violation of the law.
16
17    II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
18    RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
19    Code § 51-53.)
20      32. Plaintiff repleads and incorporates by reference, as if fully set forth
21    again herein, the allegations contained in all prior paragraphs of this
22    complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
23    that persons with disabilities are entitled to full and equal accommodations,
24    advantages, facilities, privileges, or services in all business establishment of
25    every kind whatsoever within the jurisdiction of the State of California. Cal.
26    Civ. Code §51(b).
27      33. The Unruh Act provides that a violation of the ADA is a violation of the
28    Unruh Act. Cal. Civ. Code, § 51(f).


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 1       34. Defendants’ acts and omissions, as herein alleged, have violated the
 2    Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
 3    rights to full and equal use of the accommodations, advantages, facilities,
 4    privileges, or services offered.
 5       35. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
 6    discomfort or embarrassment for the plaintiff, the defendants are also each
 7    responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
 8    (c).)
 9
10              PRAYER:
11              Wherefore, Plaintiff prays that this Court award damages and provide
12    relief as follows:
13            1. For injunctive relief, compelling Defendants to comply with the
14    Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
15    plaintiff is not invoking section 55 of the California Civil Code and is not
16    seeking injunctive relief under the Disabled Persons Act at all.
17            2. Damages under the Unruh Civil Rights Act, which provides for actual
18    damages and a statutory minimum of $4,000 for each offense.
19            3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
20    to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
21
22
      Dated: July 31, 2020                 CENTER FOR DISABILITY ACCESS
23
24
                                           By:
25
26                                         ________________________

27                                                Russell Handy, Esq.
                                                  Attorney for plaintiff
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